      Case 1:24-cv-00569-AJT-WEF Document 49-1 Filed 07/31/24 Page 1 of 1 PageID# 342
                                        UNITED STATES DISTRICT COURT
                                                                FOR THE
                                                EASTERN DISTRICT OF VIRGINIA
                                                     Alexandria Division

_______________________________, Plaintiff

V.
                                                                 Case Number: __________________________


_______________________________, Defendant


                  NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                   TO EXERCISE JURISDICTION

         In accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States magistrate
judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial, and to order the
entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all parties voluntarily
consent.
         You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction from
being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding consent
will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned.
          An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for this
judicial circuit in the same manner as an appeal from any other judgment of this district court.


     CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

          In accordance with provisions of 28 U.S.C. §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and conduct
all post-judgment proceedings.
                  Party                                  Signature of Counsel or Pro Se Party                       Date
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________
___________________________________                __________________________________                    ____________________________


                                                    ORDER OF REFERENCE
        IT IS ORDERED that this case be referred to a United States Magistrate Judge to conduct all proceedings and order the entry
of judgment in accordance with 28 U.S.C. §636(c) and Fed.R.Civ.P. 73.


____________________________                        _____________________________________________________
         Date                                                             United States District Judge

       NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED
             TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
